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15

16                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF CALIFORNIA
17

18   DANIEL VALENTI, Individually and on                Case No.: 3:21-cv-06118-JD
     Behalf of All Others Similarly Situated,
19                                                      NOTICE OF CHANGE OF ADDRESS
                          Plaintiffs,
20
                   v.
21
     DFINITY USA RESEARCH LLC, DFINITY
22   FOUNDATION and DOMINIC WILLIAMS,
23                        Defendants.
24

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                                        NOTICE OF CHANGE OF ADDRESS
                                          CASE NO. 3:21-CV-06118-JD
            Case 3:21-cv-06118-JD        Document 144        Filed 05/03/24   Page 2 of 2




 1         PLEASE TAKE NOTICE that, as of May 1, 2024, Cravath, Swaine & Moore, LLP has

 2 relocated its New York office to the following address:

 3                                 Cravath, Swaine & Moore, LLP
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 6 The firm’s telephone, fax numbers, and email addresses remain unchanged. Please direct any

 7 hard copy service to the above address.

 8

 9 Dated: May 3, 2024                           CRAVATH, SWAINE & MOORE LLP
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                                     NOTICE OF CHANGE OF ADDRESS
                                       CASE NO. 3:21-CV-06118-JD
